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Pro Se 7 (Rev 12/16) Complaint for Limployment Discrimination

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UNITED STATES D1 STRICT CourT

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~ ™ voto my
for the eet
District of Columbia {~]
__ Division
Crystal B. Nwaneri ;
y ) Case No.
) (to be filled in by the Clerk's Office;
a )
Plamtffs) )
(Write the full name of each plaintiff who is filing tis complaint. Trial) sherk one
Ifthe names ofall the plaintiffs cannot fit in the space above. ) Jury Trial: (check one) [Vv] ves L_]No
Please write “see attached” in the space and attach an additional )
page with the full list of names) )
-V- )
. )
Quinn Emanuei Urquhart and Sullivan LLP ) Case: 1:19-cv-01540 JURY DEMAND
) Assigned To : Unassigned
ne ) Assign. Date : 5/7/2019
Defendant(s) ) Descri ption: Employ. Discrim. (H-DECK)
Mrite the full name of each defendant who is being sued. If the ) ee
names of all the defendants cannot fit in the space above, please ) Angela D. Caesar, Clerk of Court |
write “see attached” in the space and attach an additional page U.S, District Court, District of Columbia

with the full list of names.)

 

COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
f-mail Address

B. The Defendant(s)

cbnwaneri@gmail.com

Crystal B. Nwaneri
8297 Delhi Road
No rth Charlesto n
SC 29406
917-651-8546

Provide the information below for each defendant named in the complaint. whether the defendant is an
individual, a government agency. an organization, or a corporation. For an individual defendant.
include the person's job or title fi Anowny. Attach additional pages if needed.

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Pro Se 7 (Rev 12/16) Complaint for Employ ment Discrimination

Defendant No. |
Name
Job or Title ¢i/ Anown)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (ifknown)

Defendant No. 2
Name
Job or Title (if Anown)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address ¢/ known;

Defendant No. 3
Name
Job or Title ¢ifknown)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (if known;

Defendant No. 4
Name
Job or Title Gfknown)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address tifknown)

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Quinn Emanuel Urquhart & Sullivan LLP

1300 I Street NW, Floor 9
Washington
DC 20005

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Pro Se 7 (Rew 12/16) Complamt tor Employment Discrimination
C, Place of Employment

The address at which I sought employment or was employed by the defendant(s) is

Name Quinn Emanuel Urquhart & Sulllivan LLP

Street Address 1300 | Street NW, Floor 9 ;
City and County Washington . -
State and Zip Code ° DC 20005

Telephone Number

Ib Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply):

Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. $§ 2000e to 2000e-17 (race.

color, gender, religion, national origin).

(Note: fn order to bring suit in federal district court under Title VIL, you must first obtain a
Natice of Right to Sue letter from the Equal Employment Opportunity Commission.)

[ | Age Discrimination in Employment Act of 1967, as codified. 29 U.S.C. §§ 621 to 634.

(Note. In order to bring suit in federal district court under the Age Discrimination in
Employment Act, you must first file a charge with the Equal Employment Opportunity
Commission.)

[ ] Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note. In order to bring suit in federal district court under the Americans with Disabilities
Act, vou must first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission.)

[S]

Other federal law (specify the federal law}: l
28 USC 1981 | Eq wed ran het Lil y beck bette fee pine

Relevant state law tspecifi, ifknown):

(SJ

OCHRA, DC tort laws re: wrongful termination, civil conspiracy, and harassment

[SJ

Relevant city or county law fspecifi, ifAnawe):

DC Council Whistleblower Protections

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Pro Se 7 (Rev 12/16) Complaint for Lmployment Discrimination

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as bricfly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted. number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes (check all that apply):

ONIONS

Failure to hire me.

Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.
Retaliation.

Other acts (specifiy:

(Note: Only those grounds raised in the charge filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the

federal employment discrimination statutes.)

B. lt is my best recollection that the alleged discriminatory acts occurred on date(s)
M
C. ] believe that defendant(s) (check one}:

LIEs]

is/are still committing these acts against me.

is/are not still committing these acts against me.

D. Defendant(s) discriminated against me based on my (check aif that apply and explam/}:
race African-American
color Black Oe
gender/sex Female
religion

SS

national origin
age (vear of birth) (only when asserting a claim of age discrimination.)

disability or perceived disability (specify disabitin)

E. The facts of my case are as follows. Attach additional pages if needed.

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Pro Se 7 (Rev 12/16) Complaint tor Employment Discrmination

Iv.

See attached. Briefiy, Plaintiff Crystal Nwaneri worked as an associate at Quinn Emanuel Urquhart &
Sullivan LLP, an international law firm with an office in Washington, D.C. between 2012 and 2016.
Plaintiff brings this action to remedy discrimination in the terms and conditions of her employment,
including promotion, compensation, termination, and other established policies on the basis of her race,

sex, and gender. In addition, Plaintiff brings this action to remedy Quinn Emanuel’ s ongoing retaliation
against her and her close family members, led by the managing partners of the D.C. office and other
senior named partners at the law firm, in response to Plaintiff’ s internal and external EEOC complaints

about Quinn Emanuel " $ unlawful discrimination and retaliation (in particular, her complaints concerning

(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.)

Exhaustion of Federal Administrative Remedies

A. It is my best recollection that ] filed a charge with the Equal Employment Opportunity Commission or
my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct

On (date;
February 27, 2017

B. The Equal Employment Opportunity Commission (check ones:
has not issued a Notice of Right to Sue letter.
issued a Notice of Right to Sue letter. which I received on (date)

Opportunity Commission to this complaint.)

C. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct check ones:

CJ 60 days or more have elapsed.
LJ less than 60 days have elapsed.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
moncy damages.

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Pro Se 7 (Rew 12/16) Complaint for Employment Discrimination

Compensatory and punitive damages to be determined at trial.

VI. Certification and Closing

Under Federal Rule of Civil Procedure 11. by signing below. [ certify to the best of my knowledge. information.
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation: (2) is supported by existing law or by a
nonfrivolous argument for extending. modifying, or reversing existing law: (3) the factual contentions have
evidentiary support or, if specifically so identified. will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the compiaint otherwise complies with the
requirements of Rule 1.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. | understand that my failure to keep a current address on file with the Clerk's Office may result
in the dismissal of my case.

Date of signing: S | ly ( ig

AOL ee
Signature of Plaintiff (Art 6 he

Printed Name of Plaintiff Om Satrd @ N Wee L
B. For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Cade
Telephone Number
E-mail Address

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CHARGE OF DISCRIMINATION AGENCY CHARGE NUMBER
This ‘orm Is atected by the Privacy Act al 1974; Sea Privacy Act Statement before Lx | FEPA
ra EEOC §70 -3919- 00343
DC Office of Human Rights _ and EEOC
oe State or local Agency, if any |
NAME(indicate Mr, Ms., Mrs.) HOME TELEPHONE (laciude Arca Code)
Ms. Crystal Brown Nwaneri 917-651-8546
STREET ADDRESS CITY, STATE AND ZIP CODE DATE OF BIRTH
916 Harrison Circle Alexandria, VA 22304 SAM2N97T9

 

 

NAMED IS THE EMPLOYER, LABOR ORGANIZATION, EMPLOYMENT AGENCY, APPRENTICESHIP COMMITTEE, STATE OR LOCAL
GOVERNMENT AGENCY WHO DISCRIMINATED AGAINST ME (if more than one list below.)

 

 

 

 

 

 

 

 

 

 

NAME NUMBER OF EMPLOYEES, MEMBERS TELEPHONE (Include Area Code)
Quinn Emanuel Urquhart & A 4
roximately 700 202-538-8000
Sullivan, LLP PP y
STREET ADDRESS CITY, STATE AND ZIP CODE COUNTY
777 6" StNW Washington, D.C, 20001
NAME TELEPHONE NUMBER (Inciude Area Code)
STREEI ADDRESS CITY, STATE AND ZIP CODE COUNTY
CAUSE OF DISCRIMINATION BASED ON (Check appropriate box(es) DATE DISCRIMINATION TOOK PLACE
EARLIEST (ADEA/EPA) | ATEST (ALL)
ly. RACE | ] COLOR ] SEX [| RELIGION [] AGE February 2014 June 30, 2016

 

| y_} RETALIATION [| NATIONAL ORIGIN [| DISABILITY { | OTHER (Specily)

 

 

 

THE PARTICULARS ARE (if additional paper is needed, attach extra sheet(s))

[Please see attached sheets.]

Alternative Contact Information:

Sanford Heisler, [LP ™N
1666 Connecticut Ave NW, Suite 300 oe
Washington, DC 20009

Phone: 202-499-5222; Fax: 202-499-5100

NOTARY - (When necessary for State and Locul Requiuments)

 

 

{want this charge filed with both the EEOC and the State or
local Agency, if any. | will advise the agencies if 1 change my

 

 

address or :elephone number and | will cooperate fully with |.--- — Tore ee notte serene om ved
them in the processing of my charge in accordance with their | swear or affirm that | have read the above charge and that it 1s true to
procedures the best of my knowledge, information and belief.

 

 

| declare under penaity of perjury that the foregoing is true and SIGNATURE OF COMPLAINANT

 

correct
SUBSCRIBED ANO SWORN TO BEFORE ME THIS DATE
(Day, monty, and year)
Charging Farty (Signature)

Date
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EEOC Charge of Discrimination
Crystal Nwaneri

1. Overview of Individual and Class Allegations

1. In the course of my employment, Quinn Emanuel Urquhart & Sullivan, LLP
(“Quinn Emanuel” or “the Firm”) subjected me and other female and African American

employees to discrimination based on gender and race. Quinn also retaliated against me and
other female employees in response to taking family leave.

2. This discrimination included: (a) Family and Medical Leave Act (the “FMLA”)
retaliation; (b) discrimination in compensation; (c) discrimination in the terms and conditions of
employment; (d) retaliation; and (c) discrimination in termination.

3. Quinn manuel knew or should have known that its business practices
discriminate against or have an illegal disparate impact on women and African Americans,
including me, and failed to take measures to rectify this discrimination.

4. I believe that Quinn Emanuel’s actions are a part of a continuing pattern and
practice of discrimination against female and African American employees,

Hl. €mployment and Education History

5. ] received my Bachelor of Arts in [English and Government from Georgetown
University in 2001. I subsequently completed graduate coursework for a Master’s degree from
Georgetown University (School of Continuing Education—Public Policy).

6. In 2006, I camed my Juris Doctor from Georgetown University Law Center. I
excelled in law school and made the Dean’s List in the 2003-2004 and 2005-2006 school years.
After law school, | worked at two AmLaw 100 law firms and completed judicial clerkships on
the U.S. Court of Appeals for the Seventh Circuit and the U.S. District Court for the District of
South Carolina.

7. In October 2012. I joined Quinn Emanuel’s Washington, D.C. office with six years
of Jegal experience. Shortly after joining the Firm, | was selected to lead a team of attorneys on
one of the Firm’s largest liligation matters concerning claims of mortgage-backed securities
fraud, Although the entire case team was located in the New York office, T successfully managed
a large docket, more than sixty contract attorncys, offensive discovery (including the collection
and analysis of over four million documents), and ultimately helped to achieve the most
extensive settlernent of this type of case at the Firm.

8. In 2014, 1 worked on a significant tax-related investigation based in Switzerland
My responsibilitics included analyzing thousands of accounts to determine the client’s tax
penalty exposure, interfacing daily with the client on-site. conducting client witness intervicws
throughout Switzerland. and writing the central white paper for the client's international financial
regulator. Both the client and the Quinn Emanuel partner leading the case expressed great
satisfaction with my work.
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EEOC Charge of Discrimination
Crystal Nwaneri

worked with any partners in my home office, | requested billable assignments based in 1).C.
However, the Firm made no efforts to assign me to billable cases.

16. In February 2014, after I realized the Firm did not intend to provide me with
billable work, | pursued, and eventually, began working on a matter involving a white-collar tax
investigation based in Switzerland. The case required me to work full-time at the client’s site in
Lugano, Switzerland for approximately six months. I went above and beyond for the Firm and
my clients while working abroad, far from my family while my mother was severely il. I was
also pregnant at the time. | nevertheless continued working from Switzerland through July 2014,
when I became unable to travel extensively due to the late stage of my pregnancy. In August
2014, I returned to the D.C. office and continued to work with the partner responsible for the
Swiss tax matter.

17. In September 2014, [ took a second FMLA leave after giving birth on September
19. Shortly afterward, on October 2, 2014, my mother passed away. Even while I was on leave
dealing with my mother’s death and caring for my newborn baby, I continued to support my
cases to the best of my ability, including preparing client presentations to the U.S. Department of
Justice.

18. When | returned to the office in January 2015, the Firm refused to assign me
billable work for matters in the D.C. office. Contrary to the Firm’s written policy, the Firm also
refused 10 pay me a prorated bonus for the work J completed before I took leave in September
2014.

19. Upon information and belief, Quinn has retaliated against other female attorneys
who took FMLA maternity leave by refusing to provide them with billable work when they
returned from leave and failing to pay prorated bonuses for the time they worked before taking
MI.A leave.

B. Discrimination in Compensation

20. Upon information and belief, [ understand that Quinn Emanuel paid me less in
bonus pay than similarly situated white and male attorneys. For cxample, ] am aware of at least
one white male associate who took FMLA leave around the same time as me to care for his
newborn child and had reduced hours in 2014 and 2015. While Quinn Emanucl paid him a
prorated bonus in 2014, the Firm refused to pay me a prorated bonus based on the work |
completed in 2014.

C. Discrimination in Terms and Conditions of Employment

21. Despite my previous success at the Firm, partners at Quinn Emanuel also
subjected me to discrimination in employment based on my race and gender, In particular, after
| returned from maternity leave in 2015, the Firm discriminated against me in the terms and
conditions of my employment by frequently subjecting my performance to greater scrutiny and
unwarranted criticism than my white and male colleagues, assigning more favorable work to m)
white and male peers, and marginalizing me in favor of white and male associates.

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EEOC Charge of Discrimination
Crystal Nwaneri

28. By contrast, when my white and male colleagues missed both external and
internal deadlines and were wecks late with their assignments, Mr. Shaffer happily made
exceptions for their failures. For example, Mr. Cooper was several weeks late in circulating a
draft brief, requiring the client to seek an extension from the court. Rather than publicly ridicule
him, Mr. Shaffer went out of his way to be accommodating. And when Mr. Cooper missed
several other internal deadlines after the court granted the extension, Mr. Shaffer did not chastise
him or call attention to the brief’s tardiness. Upon receiving Mr. Cooper’s draft, Mr. Shaffer
responded with “thanks” and complimented Mr. Cooper's efforts.

29. Mr. Shaffer’s overall demeanor towards me was also starkly different from his
interactions with white and male associatcs on the case team. While he avoided confrontations
with them, Mr. Shaffer went out of his way to be confrontational with me. He frequently
engaged in abusive and degrading conduct, which included publicly denigrating me over email,
using verbally abusive language, making incessant and unnecessary phone calls, and showing up
to my office unannounced to check on my work even when there was no pressing or time-
sensitive issue.

30. Mr. Shaffer’s discriminatory and abusive behavior towards me was so blatant and
pronounced that other Firm employees noticed and acknowledged it. In fact, Harold Barza, a
Los Angeles-based partner who also worked on the case, regularly checked in with me due to
concerns about Mr. Shaffer’s hostile behavior. In late June 2015, in response to Mr. Shaffer's
emails and general mistreatment of me, Mr. Barza offered to speak with Mr. Burck on my behalf
about Mr. Shaffer’s abusive treatment and to give him positive feedback on my work on the case.
In an effort to handle my concerns discretely, | declined his offer and decided to speak to Mr.
Burck directly about Mr. Shaffer's behavior.

D. Retaliation in Response to Complaints Regarding Disparate Treatment

31. On July 7. 2015, after months of enduring discriminatory treatment, | emailed Mr.
Burck and Mr. Shaffer about Mr. Shaffer’s disparate treatment, asking to be treated with the
same level of respect he showed to white and male associates. Later that day, | met with Mr.
Shaffer about these issues and the status of the case; Mr. Burck was scheduled to attend the
meeting but ultimately did not show up.

32, Rather than discuss the concerns | detailed in my email, Mr. Shaffer again berated
me verbally, culminating in his informing me that he and Mr. Burck—the co-managing partner in
the 10.C. office and one of the more influential partners at the Firm—had already decided that |
was not “partner material” for Quinn Emanuel. Mr. Shafler could not state with any specificity
why or how this conclusion was reached. but he was adamant that Mr. Burck and other partners
at the Firm would not want to work with me,

33. Immediately after the July 7 email and meeting, Mr. Burck and Mr. Shafter

further marginalized my role on the case and severely restricted my responsibilitics. Later that
month, | also complained to Jon Corey, the other co-managing partner in the D.C. office, about

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EEOC Charge of Discrimination
Crystal Nwaneri

attend the government's deposition of a chicf executive, which | accepted and confirmed with the
case team, including Mr. Burck. Mr. O'Neil ostensibly agreed with this approach, but shortly
after I informed the case team of the proposed strategy, Mr. O'Neil subverted my efforts by
telling Mr. Burck that the client had not requested my attendance and that he or the more junior
associate on the matter were better qualified to attend. As a result, Mr. Burck told me not to
attend the deposition.

38. Mr. Burck subjected me to a much higher level of scrutiny than my white and
male colleagues, including Mr. O’Neil. Mr. Burck often overlooked Mr. O’Neil’s errors, while
searching for aspects of my work product to criticize. For instance, early on in the matter, I had
taken the initiative to review and revise the client’s bills in compliance with the client’s internal
policies and insurance requirements. As a result, I corrected the cntire team’s billing entries,
including Mr. Burck and Mr. O’Neil’s entrics.. However, Mr. Burck focused on two duplicate
entries of mine and queried me multiple times via cmail and in person about the reasons for
correction. Meanwhile, he completely ignored the same error and correction in Mr. O’Neil’s
billing entries.

39, Despite Mr. Burck’s, Mr. Shaffer's, and Mr. O’Neil’s treatment towards me,
Quinn Emanuel never formally communicated to me any substantive negative fecdback about
my work until October 2015. Specifically, the first time Mr. Burck expressed any substantive
negative feedback to me was during a meeting on October 27, 2015, and that feedback was from
only two other partners about two short-term assignments. At the meeting, Mr. Burck also asked
me again about billing corrections but indicated his questions were resolved and had not been an
issue for the client.

40. With respect to my substantive work on the case with Mr. O'Neil, Mr. Burck told
me that my work was “good” and that he was satisfied with my performance. He also gave me
additional assignments on the matter, which | completed promptly. Lastly, Mr. Burck
encouraged me to seck those two partners out directly to clear up any miscommunication and to
follow up with him, telling me this was only the beginning of a “continuing conversation.”

41. After the October 2015 mecting, | reached out to those two pariners as promised
and also tried repeatedly to follow up with Mr. Burck about the issues he had raised, but most of
these efforts were in vain. Although he suggested that the October 27 meeting was the start of an
ongoing discussion, Mr. Burck ignored more than ten of my emails and also cancelled or failed
to attend several meetings | had scheduled with him. After the October 27, 2015 mecting, | had
no substantive conversations with Mr. Burck about my performance until March |, 2016, as
described below. Furthermore, the Firm failed to provide me with a formal review for 2015 even
though I requested it.

F. Discrimination in Termination
42, Quinn limanuel discriminated against me by wrongfully terminating my

employment on May 4. 2016. Quinn Emanuel used my diseriminatorily reduced billable hours
as a pretext to unlawfully terminate my employment.

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EEOC Charge of Discrimination
Crystal Nwaneri

49. In response, Mr. Corey arranged to meet with me on May 4, 2016. When |
arrived at the meeting, Mr. Corey informed me for the first time that he invited Mr, Burck to also
attend, Together, Mr. Corcy and Mr. Burck abruptly informed me that the Firm was terminating
my cmployment due to my difficulties securing billable work. Mr. Burck also claimed that other
partners would not consider me for partnership due to my low hours. In response, | specifically
asked Mr. Corey and Mr. Burck for my 2015 performance review, which they refused to
provide.

50. Mr. Burck made this claim regarding my candidacy for partnership even though 1
had deferred consideration until November 2016. Quinn Emanuel failed to adhere to its policy
allowing deferrals for partnership consideration and refused to give me Tair consideration for
partnership or other promotions.

51. The Firm has repeatedly granted similarly-situated white and male associates
additional time before partnership consideration and/or promoted them to partner or counsel
despite their low hours. For example, Brett Watkins, a white male associate who, like myself, is
Class of 2006 and had low hours in 2014 and 2015, has been allowed additional time to develop
and remains employed at the Firm. Additionally, Gabricl Soledad, a male associate at the Firm,
graduated from law schoo! in 2005, but Quinn Emanuel considers him as part of the Class of
2007, giving him a two-year extension on his timeline to be considered for partner.

52. Similarly, Quinn Emanuel has also promoted other white and male associates to
Counsel positions, despite their appearing on the Firm’s “low hours” list. Promotion to counsel
was never an option for me as Quinn Emanuel unlawfully terminated me once it decided to
remove me frorn the partnership track.

53. liven after my termination, Quinn Emanuel continued to subject me to unlawful
conduct in retaliation for complaining about the Firm’s mistreaument of me. For example,
despite numerous requests, the Firm failed to compensate me for more than four weeks of
accrued, unused vacation pay upon my departure. Moreover, cven though | had the option to
enroll in COBRA, Quinn Emanuel failed to provide me with the necessary documentation and
caused me to miss the deadline to enroll so that | could secure backup health coverage for myself
and my family.

54, The Firm has also made efforts since unjustly terminating me to ruin my
professional reputation outside of Quinn Emanuel and has all but ensured that { would face
extreme difficulties in finding new employment. On September 16, 2016, in open court before a
local Maryland circuit court judge and in the presence of other lawyers, Quinn Timanuel falsely
claimed that ] had “threatened to sue” the Firm in response to their July 2016 motion to withdraw
from a case I brought to the Firm.

55. ‘The Firm also made several other disparaging comments about me on the record
at ihe September 2016 hearing, suggesting that I had not provided adequate representation to the

 

2 On June 7, 2016, Mr. Corey again refused to provide me with my 2015 performance evaluation, even though Fam
informed and believe that the Firm provided performance evaluations to other associates

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EEOC Charge of Discrimination
Crystal Nwaneri

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professional reputation outside of Quinn /manuel and has all but cnsured that [| would face
extreme difficultics in finding new employment. On September 16, 2016, in open court before a
local Maryland circuit court judge and in the presence of other lawyers, Quinn Emanuel falsely
claimed that I had “threatened to sue” the Firm in response to their July 2016 motion to withdraw
from a case I brought to the Firm.

55. The Firm also made several other disparaging conmnents about me on the record
at the September 2016 hearing, suggesting that I had not provided adcquate representation to the

 

? On June 7, 2016, Mr. Corey again refused to provide me with my 2015 performance evaluation, even though fam
informed and believe that the Firm provided performance evaluations to other associates.

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